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                                                                       Hon. Richard A. Jones
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 5
                         UNITED STATES DISTRICT COURT
 6                 WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 7   OCEANGATE INC.,                                )
                                                    )    NO. 2:18-CV-01083-RAJ
 8                                                  )
                          Plaintiff,                )
     v.                                             )     ORDER OF DISMISSAL
 9
                                                    )
10   DAVID LOCHRIDGE and CAROLE                     )
                                                    )
     REID LOCHRIDGE, and the marital                )
11   community composed thereof,                    )
                                                    )
12                                                  )
                          Defendants.               )
13

14
            The parties have notified the Court they have reached a settlement of this case.
15

16   The Court accordingly DISMISSES this case with prejudice and without court-ordered

17   costs or attorney fees to any party. If the parties are unable to perfect their settlement,
18   they may move to reopen this case within 60 days of this order. The trial date and all
19
     remaining pretrial deadlines are hereby VACATED.
20
            DATED this 28th day of November, 2018.
21

22                                                      A
23                                                      The Honorable Richard A. Jones
                                                        United States District Judge
24

25

      ORDER OF DISMISSAL                                                   BARRETT & GILMAN
      NO. 2:18-CV-01083-RAJ – PAGE 1                                                Attorneys at Law
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